Exhibit A
Rabbi Ben Zion Halberstam                                   EnCuTIM171#1 t7=417 '
       Grand Rabbi of Bobov
           480315th Ave.
        Brooklyn, N.Y. 11219
                                                                   January 2, 2024

        Dear Honorable Judge,
        I am compelled to address you in my capacity as the Grand Rabbi of Bobov, an
 extensive Orthodox Jewish congregation with a profound historical lineage and a global
 following numbering in the tens of thousands. It is within this context that I wish to convey
 my insights regarding Mr. Shimshon Mandel, a congregant of longstanding merit and a
 personal childhood friend, whose virtues and tribulations I have been intimately acquainted
 with over the years.
        Mr. Mandel's affiliation with our congregation extends back to the tenure of my
 revered father Rabbi Solomon Halberstam of blessed memory, who previously led our
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 community. Throughout his life, Shimshon has exemplified the quintessence of kindness
 and benevolence, consistently going beyond the call of duty to assist others.
        Previously, when his financial circumstances were more favorable, his esteemed
 position within our community was greatly enhanced by his ability to provide substantial
 spiritual, emotional, and financial support to those in need. Now, despite facing financial
 hardships himself, his moral integrity and dedication to the community remain unwavering.
 His humility, more pronounced in the face of personal adversity, continues to endear him
 to his peers. They admire him not only for the support he once provided but also for his
 resilience and continued role as a source of wisdom and guidance. This shift in his fortunes
 has not diminished his stature but rather has deepened the respect and affection with which
 he is regarded, highlighting his true altruistic spirit and kindness.
        In addition to his communal roles, Shimshon is a devoted father to eight sons, all of
 whom have been nurtured within the educational institutions established by our
 congregation. His paternal warmth and dedication to instilling values of kindness and
 lawful conduct in his children are exemplary.
        The demise of Esther, his beloved wife of 45 years, has profoundly impacted
 Shimshon, leaving a palpable void in his spirit. He confides that his enduring purpose
 remains in being a pillar for his children and grandchildren, recognizing their reliance on
 his paternal presence.
        Your Honor, while it is not my place to ascertain what constitutes justice in this
 matter, it is my intention to illuminate the character of Shimshon Mandel as I, and many
 within our community, have witnessed. In our Orthodox faith, we hold the principle of
 remorse as a crucial step towards rehabilitation and renewal. Shimshon's expressions of
regret and self-reflection have left an indelible impression on me, an aspect I felt compelled
to share in this context.
        I appreciate the significant responsibility that rests upon Your Honor in the process
of deliberation and sentencing. In this pivotal moment, I respectfully urge you to consider
the principle of 'Imitatio Dci'     the imitation of the divine virtues of mercy and fairness.
May your judgment reflect these highest ideals, offering leniency and kindness in assessing
the totality of the individual's character and circumstances.
       With blessing and respect.

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       Ben Zion Hal 4stam
       Grand Rabbi of Bobov
